 Case No. 1:25-cr-00046-GPG-JMC              Document 1-2   filed 01/23/25    USDC Colorado
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DEFENDANT:        Lanson Manning

YOB:       1992

COMPLAINT                X         Yes                No
FILED?


OFFENSE(S):       COUNT 1: 18 U.S.C. §§ 113(a)(6) and 1153 – Assault Resulting in Serious
                  Bodily Injury in Indian Country.


LOCAT. OF         Montezuma County, Colorado (Ute Mountain Ute Indian Reservation)
OFFENSE:

PENALTY:          COUNT 1: NMT 10 years imprisonment, a $250,000 fine or both, a term of
                  supervised release of NMT 3 years, and a $100 special assessment fee.


AGENT:            Special Agent Asher Spaulding, Bureau of Indian Affairs

AUTH. BY:         Lisa Franceware, Assistant U.S. Attorney


 ESTIMATED TIME OF TRIAL:

       x     five days or less           over five days          ____ other

 THE GOVERNMENT

   X     will seek detention in this case based on 18 U.S.C. § 3142(f)(1) and (f)(2)(A)
 and (B)

           will not seek detention


 OCDETF CASE:                Yes         X    No
